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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNIVERSITAS EDUCATION, LLC,
               Petitioner,
       -V-                                                  Nos. 11 Civ. 1590 (LTS) (HBP)
                                                                        and
                                                                 11 Civ. 8726 (LTS) (HBP)
NOVA GROUP, INC., as trustee, sponsor and
fiduciary of THE CHARTER OAK TRUST
WELFARE BENEFIT PLAN,
               Respondent.

             SUPPLEMENTAL MEMORANDUM IN OPPOSITION TO MOTION FOR
                   TURNOVER AND PERMANENT INJUNCTION
       Respondents Carpenter Financial Group, Inc. ("CFG"), Avon Capital, LLC ("Avon"),
Hanover Trust Company ("Hanover") and Phoenix Capital Management, LLC ("Phoenix")
(collectively "Respondents") hereby oppose the motion for turnover and for permanent
injunction filed by Universitas Education, LLC ("Universitas") and urge the Court to deny that
motion in its entirety. The Respondents are not properly subject to this Court's jurisdiction and
Universitas is not, in any event, entitled to a permanent injunction against them based on the
alleged conduct of a third party.
       First, none of the Respondents were served with a writ of summons or complaint
commencing an action against them pursuant to C.P.L.R. § 5225(b). Rather, in its memorandum
of law (filed 10/17/13), Universitas merely asserts that it is "proceeding by Notice of Motion"
against the Respondents. Because personal jurisdiction is required for an order under § 5225(b),
and because notice, without service of process, is insufficient to convey jurisdiction over non-
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party, out of state entities such as Respondents, the motion for turnover and for permanent
injunction should be dismissed.
       In its memorandum, Universitas contends that a § 5225(b) proceeding may be
commenced by notice of motion rather than service of process and that "nearly every court in the
Circuit to consider the issue has held that parties can bring a motion ... rather than instituting a
special proceeding." Universitas' Memorandum at 16, citing Northern Mariana Islands v.
Millard, 845 F. Supp. 2d 579, 581 (S.D.N. Y. 2012). Universitas also cites SEC v. Colonial
Investment Mgt., 2010 U.S. Dist. LEXIS 108063 (S.D.N. Y. Oct. 6, 2010) for the same principle.
This is simply not the case.
        In Wasserman Media Grp., LLC v. Bender, 10 CIV. 8783 SAS, 2012 WL 1506181
(S.D.N. Y Apr. 26,2012), Judge Scheindlin denied a petitioner's effort to commence a § 5225(b)
action by notice and emphasized the need for the court to have personal jurisdiction over the
parties before it could enter any turnover order. Specifically addressing the two cases cited by
Universitas here, Millard and Colonial Investment, Judge Scheindlin pointed out that "personal
jurisdiction was not in issue in either case" and that those courts therefore had not engaged in
any jurisdictional inquiry. Wasserman, 2012 WL 1506181 at *2.
        Citing a case that did conduct a jurisdictional inquiry. Judge Sheindlin went on to state
that in Runway Development Group v. Pentagen Technologies International Limited, 396
F.Supp.2d 471 (S.D.N. Y. 2005), the court analyzed the different subsections of § 5225 as
follows:
       Section 5225 sets forth the procedures for the return of property. Under section
       5225(a), a judgment creditor can seek turnover of property held by the judgment
       debtor "[u]pon motion" in the original action. N.Y. C.P.L.R. 5225(a). However,
       when the property sought is in the possession of someone other than the judgment
       debtor, the judgment creditor must follow the procedure set forth in section
       5225(b), which requires that the creditor "commence an action against the person

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       in possession," [Alliance Bond Fund, Inc. v. Grupo Mexicano De Desarrollo,
       S.A., 190 F.3d 16, 21 (2d Cir.1999)], instead of merely filing a motion in the
       original action, see N.Y. C.P.L.R. 5225(b); David D. Siegel, Practice
       Commentaries, N.Y. C.P.L.R. 5225, at 264-65 (McKinney 1997) (explaining that
       subsection (b) requires a special proceeding "bearing its own caption") (citation
       omitted).
Wasserman at *2.
       The Wasserman court went on to cite the conclusion in Runway Development that:
       Because Rule 69(a) of the Federal Rules of Civil Procedure dictates that state
       procedures be followed, and because section 5225(b) is applicable to this
       situation, Pentagen is required to commence a new action against the Government
       in order to attain the sought-after relief Therefore the present motion is an
       improper vehicle for seeking this relief and must be denied.
Wasserman at *2, citing Runway Development, 396 F.Supp. 2d at 474.
       Moreover, the Court of Appeals has explained the importance of personal jurisdiction in
5225(b) actions, distinguishing them from attachment actions where the property in question
must be within the state (and where the attachment can create jurisdiction where it otherwise
may not exist). That Court's decision in Koehler v. Bank of Bermuda explains succinctly the
law on this point:
       The First Department of the Appellate Division has expressly held that judgment
       debtors can be ordered to turn over out-of-state assets under CPLR article 52 (see
       Gryphon Dom. VI LLC v. APP Intl. Fin. Co., B. V., 41 A.D.3d 25, 836 N. Y.S.2d 4
       [1st Dept.2007], Iv. denied 10 N.Y.3d 705, 857 N.Y.S.2d 38, 886 N.E.2d 803
       [2008]; see also Miller v. Doniger, 28 A.D.3d 405, 814 N.Y.S.2d 141 [1st
       Dept.2006]; Starbare IIPartners v. Sloan, 216 A.D.2d 238, 629 N.Y.S.2d 23 [1st
       Dept. 1995]). "[T]he explicit rationale was that the court could order the
       defendant judgment debtor to turn over property because it had personal
       jurisdiction over the defendant" {Gryphon, 41 A.D.3d at 31, 836 N.Y.S.2d 4,
       citing Starbare, 216 A.D.2d at 239, 629 N.Y.S.2d 23). Recently, the First
       Department endorsed the position that "New York courts have the power to
       command a garnishee present in the state to bring out-of-state assets under the
       garnishee's control into the state" {Morgenthau v. Avion Resources Ltd., 49
       A.D.3d 50, 54, 849 N.Y.S.2d 223 [1st Dept 2007], mod on other grounds 11
       N.Y.3d 383, 869 N.Y.S.2d 886, 898 N.E.2d 929 [2008]).



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       As that court noted, the key to the reach of the turnover order is personal
       jurisdiction over a particular defendant. "[A] turnover order merely directs a
       defendant, over whom the New York court has jurisdiction, to bring its own
       property into New York" (Gryphon, 41 A.D.3d at 31, 836 N.Y.S.2d 4). A New
       York court has the authority to issue a turnover order pertaining to extraterritorial
       property, if it has personal jurisdiction over a judgment debtor in possession of the
       property. "As long as the debtor is subject to the court's personal jurisdiction,
       a delivery order can be effective even when the property sought is outside the
       state" (Siegel, N.Y. Prac. § 510, at 866 [4th ed.]). (Bolded emphasis added).
Koehler v. Bank of Bermuda Ltd., 12 N.Y.3d 533, 539-40, 911 N.E.2d 825, 830 (2009).
       Thus it is clear that the "key" to the Court's authority to enter a turnover order is personal
jurisdiction over a given defendant. This point caimot seriously be contested and comports with
a long line of decisions reflecting the significance of personal jurisdiction to the due process
rights of individuals or corporations that may be subject to court orders. From International
Shoe Co. V. Washington, 326 U.S. 310, 66 S.Ct. 154, 90 L.Ed. 95 (1945) through its recent
decision in Daimler AG v. Bauman, 134 S. Ct. 746, 187 L. Ed. 2d 624 (2014), the Supreme Court
has repeatedly emphasized the limits of personal jurisdiction, noting that a defendant must have
"certain minimum contacts with the State such that the maintenance of the suit does not offend
traditional notions of fair play and substantial justice." (hitemal citation and quotation omitted).
Goodyear Dunlop Tires Operations, S.A. v. Brown, 131 S. Ct. 2846, 2853, 180 L. Ed. 2d 796
(2011), quoting International Shoe, 326 U.S., at 316, 66 S.Ct. 154).
        While International Shoe dealt with in-state conduct of the proposed defendant that gave
rise to the specific claims at issue (specific jurisdiction,) subsequent cases recognized that a
defendant's in-state conduct might be so pervasive as to put the defendant fairly on notice of the
possibility of being hauled into court in the forum for any claims. Under this separate concept,
"[a] court may assert general jurisdiction over foreign (sister-state or foreign-country)
corporations to hear any and all claims against them when their affiliations with the State are so


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continuous and systematic as to render them essentially at home in the forum State." (Internal
quotation omitted, emphasis added.) Goodyear, 131 S.Ct., at 2851; see id, at 131 S.Ct., at 2853-
2854; Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 414, nn. 8, 9, 104 S.Ct.
1868, 80 L.Ed.2d 404 (1984). In either case, a court has no jurisdiction over a defendant unless
the defendant has certain minimum contacts with the state and the court follows the appropriate
procedure for an exercise of personal jurisdiction.
             Here, there has been no International Shoe analysis. There is no evidence that the
Respondents have any contacts, much less the required minimum contacts, and certainly no
evidence that the Respondents are "at home" in New York so that the exercise of jurisdiction
might be proper. Indeed, Universitas has not even offered the Court an analysis of the
Respondents' contacts, if any, with New York.'
             Moreover, the statute offers no procedure through which this Court can obtain personal
jurisdiction over the Respondents simply by virtue of "notice" of Universitas' motion. Section
5225(b) requires the institution of a special proceeding and, contrary to Universitas' statement,
the only courts to consider the jurisdictional question have said that a party must commence an
action and properly serve non-parties in order to obtain jurisdiction over them. (Whether the
motion process may or may not properly be used in cases where jurisdiction is not at issue is
irrelevant to the instant case.) Because Universitas failed to commence an action against the
Respondents, its claims against them should be dismissed.


^ In its M e m o r a n d u m a t pp. 1 6 - 1 7 U n i v e r s i t a s suggests t h a t j u r i s d i c t i o n m a y be o b t a i n e d t h r o u g h v e i l piercing. I n
t h e f i r s t i n s t a n c e , t h i s c o n c e p t o f j u r i s d i c t i o n is q u e s t i o n a b l e , a t best, p a r t i c u l a r l y in t h e w a k e o f t h e S u p r e m e
C o u r t ' s Gooc/yeo/'and Do/m/er decisions. See L o n n y H o f f m a n , Further Thinking About Vicarious Justification:
Reflecting on Goodyear v. Brown and Looking Ahead to Daimler Ag v. Bauman, 3 4 J. Int'l L. 7 6 5 ( U . P e n n . 2 0 1 4 ) .
M o r e i m p o r t a n t l y , U n i v e r s i t a s has f a i l e d t o d e m o n s t r a t e t h a t veil piercing is a p p r o p r i a t e w i t h respect t o t h e s e
R e s p o n d e n t s . It claims t h a t t h e R e s p o n d e n t s a r e " a l t e r egos o r c o n t r o l l e d by" M r . C a r p e n t e r , b u t o f f e r s n o
analysis o r s u p p o r t f o r t h a t s t a t e m e n t ( a n d n o c o u r t has m a d e s u c h a f i n d i n g w i t h respect t o t h e s e R e s p o n d e n t s . )

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       Second, § 5225(b) simply provides a vehicle for judgment creditors to reach assets that
properly should be used to satisfy a judgment, it does not allow for a plaintiff to create an
ongoing impediment to the normal business operations of non-parties based only on the
hypothetical claim that a judgment debtor might try to transfer assets to the non-party. In other
words, the statute does not contemplate a permanent injunction barring the (non-party)
Respondents from going about their business.
       Here, Universitas has had a preliminary injunction in place for over six months barring
any spending over a set limit and giving Universitas specific information regarding the spending
that did occur. Universitas thus has had sufficient time to identify and claim any funds that it
believes may be subject to turnover pursuant to§ 5225(b). At this point, it should do so. It
should identify any such funds and make its claim for turnover. It should not be allowed to place
a continuing restraint on Respondents' business operations based on its concern that some party
to this action may distribute funds to the Respondents. A judgment creditor does not have such
broad and ongoing power under the statute.
        In its pleadings, Universitas focuses on transactions that occurred in 2009. It has not
identified any transaction occurring after that time and has not demonstrated that these
Respondents are in possession of any funds that should be subject to turnover. Universitas
should not be allowed to hold Respondents' business activities perpetually in limbo while it
hopes that some funds may be obtained. If Universitas can carry its burden to prove that it is
entitled to a turnover of specific funds, then a judgment respecting those specific funds should
enter and the case should be closed. If not, then judgment for all of the Respondents should enter
and the case should be closed. In either case, the statute does not give Universitas the power to
hold these businesses hostage in perpetuity. Because there is no evidence that these Respondents


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are in possession of any funds that should be subject to a turnover, the latter circumstance should
prevail and judgment should enter in their favor.


WHEREFORE, the Respondents respectfully urge that the Court dismiss the claims against them
or enter judgment in their favor.



Dated: June 16, 2014                         Respectfully Submitted,
                                             Carpenter Financial Group, Inc.
                                             Avon Capital, LLC
                                             Hanover Trust Company
                                             Phoeni?c..^apital Managernent^ LLC


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